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IN THE UNITED sTATEs DISTRICT COURT F“-ED BY ~%£g-- D-c-
FOR THE wEsTsRN DIsTRIcT 0F TENNESSEE

 

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HIOMASM.GOULD
sMITH ac NEPHEW, INC., ClEH£U.S.USTHC'{COURT
W,D O? `?` :"FEM}HB
Plaintiff,
vs. No. 02~2873-Ma

SYNTHES (U.S.A.), ET AL.,

Defendants.

 

OR_DER ON PENDING MO'I‘ION

 

On November 15, 2004, defendants filed a motion for leave to
file replies to plaintiff’s opposition to motion for summary
judgment (D.E. # 193). Defendants filed their reply on November
17, 2004, (D.E. #199). All pending motions for summary judgment
were resolved by the court's order entered on December 2, 2004,
(D.E. #203). The motion for leave to file replies (D.E. #193) is
therefore moot and is denied.

On December 13, 2004, defendants filed two motions in limine
(D.E. #216 and D.E. #217). The motions in limine were resolved

orally on the record during the course of the trial. The motions

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in limine (D.E. #216 and D.E. #217) are, therefore, moot.

It is so ORDERED this 4szday of August, 2005.

SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

